Case 4:16-cr-00070-CVE Document 279 Filed in USDC ND/OK on 11/20/17 Page 1 of 3




                       UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF OKLAHOMA

 UNITED STATES OF AMERICA,                            )
                                                      )
                       Plaintiff,                     )
                                                      )
 v.                                                   )      Case No. 16-CR-0070-CVE
                                                      )
 PHONG DO,                                            )
 a/k/a “Chip,”                                        )
 a/k/a “Chipmunk,”                                    )
 NHA LY,                                              )
 BAO NGUYEN,                                          )
 a/k/a “Goofy,”                                       )
 a/k/a “Muffin-Top,”                                  )
 a/k/a “Muffin,”                                      )
 CINDY NGUYEN,                                        )
 VICTORIA TRUONG,                                     )
 PHUNG TIEU DUONG,                                    )
 a/k/a “Misty,”                                       )
 MINH THANH NGUYEN,                                   )
                                                      )
                       Defendants.                    )

                                     OPINION AND ORDER

        Now before the Court is defendants’ motion for a pretrial hearing to determine the

 admissibility of co-conspirator statements (Dkt. # 267). On June 7, 2016, a grand jury returned an

 indictment charging nine defendants1 with a money laundering conspiracy (count one) and a drug

 conspiracy (count two). Dkt. # 2. A jury trial is scheduled for January 16, 2018. Dkt. # 231.

         Under Fed. R. Evid. Rule 801(d)(2)(E), a statement is not considered hearsay if the court

 finds that “(1) a conspiracy existed; (2) both the declarant and the defendant against whom the

 declaration is offered were members of the conspiracy; and (3) the statement was made in the course




 1
        Two defendants, Irene Nguyen and Apinya Ayuwaddhana, have since been dismissed from
        the case. Dkt. ## 205, 206.
Case 4:16-cr-00070-CVE Document 279 Filed in USDC ND/OK on 11/20/17 Page 2 of 3




  of and in furtherance of the conspiracy.” United States v. Eads, 191 F.3d 1206, 1210 (10th Cir.

 1999) (quoting United States v. Caro, 965 F.2d 1548, 1557 (10th Cir. 1992)). For Rule 801(d)(2)(E)

 to apply, the government must establish the existence of a conspiracy at some point in its case-in-

 chief, or the statements must be excluded. United States v. Kaatz, 705 F.2d 1237, 1244 (10th Cir.

 1983). A court “can only admit coconspirator statements if it holds a James hearing [before trial]

 or conditions admission on forthcoming proof of a ‘predicate conspiracy through trial testimony or

 other evidence.’” United States v. Townley, 472 F.3d 1267, 1273 (10th Cir. 2007) (quoting United

 States v. Owens, 70 F.3d 1118 (10th Cir. 1995)). A district court may rely on the statements and

 observations of other coconspirators to support its finding that a conspiracy existed. Owens, 70 F.3d

 at 1124-25. If a coconspirator statement is admissible under Fed. R. Evid. 801(d)(2)(E), the

 requirements of the Confrontation Clause of the Sixth Amendment are also satisfied. United States

 v. Molina, 75 F.3d 600, 603 (10th Cir. 1996).

        The Tenth Circuit has stated that it has a “preference” for a district court to hold a pretrial

 hearing to determine the admissibility of coconspirator statements. United States v. Gonzalez-

 Montoya, 161 F.3d 643, 649 (10th Cir. 1998). However, the Tenth Circuit has clearly held that this

 is a preference only, and the district court retains discretion to hold a pretrial hearing or permit the

 government to “connect up” the statements to a conspiracy at trial. United States v. Urena, 27 F.3d

 1487, 1491 (10th Cir. 1994). Due to the size and complexity of the two alleged conspiracies, a

 pretrial James hearing would essentially be a mini-trial and time-consuming. Therefore, the Court

 exercises its discretion to permit the government to connect up the statements to the conspiracies

 at trial. The government will be required to lay a proper foundation for admitting coconspirator

 statements by offering proof of the conspiracy and declarant and each defendant’s membership in


                                                    2
Case 4:16-cr-00070-CVE Document 279 Filed in USDC ND/OK on 11/20/17 Page 3 of 3




 it before seeking to admit the statements, but defendants’ motion for a pretrial James hearing is

 denied.

           IT IS THEREFORE ORDERED that defendant’s motion for a pretrial hearing to

 determine the admissibility of co-conspirator statements (Dkt. # 267) is denied.

           DATED this 20th day of November, 2017.




                                                 3
